    Case 3:16-cv-01882-PAD Document 82 Filed 09/26/18 Page 1 of 6



                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


    MARÍA SUÁREZ-TORRES, et al.,

           Plaintiffs,

                     v.                                                   CIVIL NO. 16-1882 (PAD)

    SANDÍA, LLC,

           Defendant.


                                        MEMORANDUM AND ORDER

Delgado-Hernández, District Judge.

         Before the court is defendant’s “Petition for Award of Attorney’s Fees and Memorandum

in Support” (Docket No. 77), which plaintiff opposed (Docket No. 81). For the reasons explained

below, the motion is DENIED.

                                               I.       BACKGROUND

     A. Initial Developments.

         Plaintiffs María Suárez and Norberto Medina sued Sweet Gallery by Saudi under the

American with Disabilities Act, 42 U.S.C. § 12181, et seq.; the ADA’s Accessibility Guidelines;

the Puerto Rico Civil Rights Act, Law No. 131 of May 13, 1943, as amended, P.R. Laws Ann. tit.

1 § 13; and Article 1802 of the Puerto Rico Civil Code, P.R. Laws Ann. tit. 31 § 5141 (Docket No.

1). The court dismissed the claims under Law No. 131 and Article 1802 (Docket No. 20), after

which defendant provided plaintiffs with an expert report detailing improvements made to

defendant’s store. (Docket No. 57, ¶ 3).1 To confirm that the barriers were removed, on April 5,



1 Although the exact date as to when the remodeling occurred is not clear, a report dated February 27, 2017 provides enough
information to determine that the remodeling indeed occurred (Docket No. 57-1). The photographs included in the report, compared
with the photographs included in the complaint, show that the store underwent some changes (Docket No. 1-1). However, that the
    Case 3:16-cv-01882-PAD Document 82 Filed 09/26/18 Page 2 of 6
María Suárez-Torres, et al. v. Sandía, LLC
Civil No. 16-1882
Memorandum and Order
Page 2


2017, Suárez personally visited the store, but concluded that modifications to the store were

inadequate. Medina, however, moved to dismiss his claims with prejudice, because as related to

him, the barriers were removed (Docket No. 32). The court granted the request (Docket No. 37).

In turn, defendant requested that any determination as to the propriety of costs, expenses and

attorney’s fees related to Medina be tolled until the final disposition of the case (Docket No. 38),

which the court granted (Docket No. 50).

     B. Discovery

          In the meantime, defendant moved to strike certain documents requested during discovery

and never produced (Docket No. 27).2 In response, the court ruled that “[a]t trial, plaintiff will not

be allowed to use any of the requested –but not produced– evidence as part of the Interrogatories

and Request for Production of documents served by the defendant” (Docket No. 51), leading

Suárez to request leave to amend the complaint to include the events witnessed during her visit in

2017 (Docket No. 57), which the court denied (Docket No. 58).

     C. Status Conference

          Thereafter, during a status conference defendant explained, among other things, that: (i) no

barriers existed at the location; (ii) plaintiff had no evidence to prove otherwise; (iii) this was a

frivolous suit involving a public figure that had been discussed in the media; and (iv) it was ready

for trial but plaintiff had no evidence to prove her case. Id. Plaintiffs’ attorney said the case was

moot and that he was going to discuss with his clients the possibility of moving for voluntary



store underwent some changes does not prove that it did not meet the ADA requirements before those changes were made. See,
Minutes of Proceedings at Docket No. 72.
2Plaintiffs responded to the motion after seeking several extensions of time (Docket No. 33), but the response was filed in error
and the Clerk’s Office instructed plaintiffs’ attorney to resubmit separating the main document from the attachment, which he never
did.
     Case 3:16-cv-01882-PAD Document 82 Filed 09/26/18 Page 3 of 6
María Suárez-Torres, et al. v. Sandía, LLC
Civil No. 16-1882
Memorandum and Order
Page 3


dismissal. Id. The next day, Suárez moved for voluntary dismissal (Docket No. 74).3 In turn,

defendant moved for attorney’s fees (Docket No. 77), asking for an award of $27,275.00 on

account of 109.10 hours worked defending the case, at an hourly rate of $250.00.

                                                  II.       DISCUSSION

            As a general rule, each party is responsible for its own attorney’s fees. See, Alyeska

Pipeline v. Wilderness Society, 421 U.S. 240, 247 (1975)(discussing issue). Yet Congress has

created several exceptions by way of fee-shifting statutes. Id. at 260. In some instances, the

statutes limit the award to prevailing plaintiffs, whereas in others, they make awards available to

prevailing parties. When a fee-shifting statute awards attorney’s fees to a prevailing party, and

the prevailing party is the plaintiff, she “should ordinarily recover an attorney’s fee unless special

circumstances would render such an award unjust.” Newman v. Piggie Park Enterprises, Inc., 390

U.S. 400, 402 (1968). However, prevailing defendants will only be awarded attorney’s fees when

the court understands that plaintiff’s claim is “frivolous, unreasonable or groundless, or that the

plaintiff continued to litigate after it clearly became so.” Christiansburg Garment Co. v. Equal

Employment Opportunity Commission, 434 U.S. 412, 422 (1978).

            Suárez’s claim is predicated on the ADA, pursuant to which “the court or agency, in its

discretion, may allow the prevailing party, other than the United States, a reasonable attorney’s

fee, including litigation expenses, and costs, and the United States shall be liable for the foregoing

the same as a private individual.” 42 U.S.C. § 12205 (emphasis added). For that reason, in line

with Christiansburg, the court must determine: (1) if the defendant was in fact the prevailing party,

and if so, (2) whether plaintiff’s claim was frivolous, unreasonable or groundless. See, Bercovitch



3   Nevertheless, she filed a separate complaint against Sandía, LLC. See, Civil No. 17-1866 (FAB).
  Case 3:16-cv-01882-PAD Document 82 Filed 09/26/18 Page 4 of 6
María Suárez-Torres, et al. v. Sandía, LLC
Civil No. 16-1882
Memorandum and Order
Page 4


v. Baldwin School, Inc., 191 F.3d 8, 10 (1st Cir. 1999)(holding, while incorporating the

Christiansburg test into the language of ADA, that attorney’s fees may not be awarded to a

prevailing defendant under the ADA unless the defendant establishes that the plaintiff’s suit was

totally unfounded, frivolous, or otherwise unreasonable or that the plaintiff continued the litigation

after it clearly became so).

    A. Prevailing Party

         To qualify as a prevailing party, a litigant must show that a material alteration of the parties’

legal relationship has taken place as a result of the litigation. In addition, it must demonstrate that

the alteration possesses a “judicial imprimatur.” Hutchinson ex rel. Julien v. Patrick, 636 F.3d 1,

8-9 (1st Cir. 2011)(quoting Tex. State Teachers Ass’n v. Garland Indep. Sch. Dist, 489 U.S. 782,

792-93(1989); Buckhannon Bd. and Care Home, Inc. v. West Virginia Dept. of Health and Human

Resources, 531 U.S. 598 (2001)).

         Even though an individual may be entitled to attorney’s fees without having obtained a

favorable judgment following a full trial on the merits, he must obtain relief based “on the merits

of at least some of his claims.” Race v. Toledo-Dávila, 391 F.3d 857, 859 (1st Cir. 2002). A mere

change in the “status quo” does not make a party a “prevailing party.” Id. at 858 (so noting while

explaining that a plaintiff prevails when actual relief on the merits of his claim materially alters

the legal relationship between the parties). The defendant does not reach that threshold. With the

exception of the claims under Law 131 and Article 1802, the court never addressed the merits of

plaintiffs’ claims. To the contrary, the claims of both Suárez and Medina were dismissed after
    Case 3:16-cv-01882-PAD Document 82 Filed 09/26/18 Page 5 of 6
María Suárez-Torres, et al. v. Sandía, LLC
Civil No. 16-1882
Memorandum and Order
Page 5


they voluntarily moved the court to do so, because defendant voluntarily (not by court order)

remodeled the store.4

     B. Frivolousness

         If defendant were the prevailing party, it would still have to establish that plaintiffs’ claim

was “frivolous, unreasonable or groundless, or that the plaintiff continued to litigate after it clearly

became so.” Christiansburg Garment Co., 434 U.S. at 422; Bercovitch, 191 F.3d at 11. To this

end, defendant argues that plaintiffs’ claims were unnecessarily pushed “until the last possible

breath when it should have been evident [. . . .] [since] June 6, 2017 that the case had no future”

(id. at ¶ 13), adding that plaintiffs’ sole purpose was to “extort” it, even going so far as to make

good on the threat by filing a new case against Sandía.

         As previously explained, the court is not in a position to determine if ADA violations

occurred in defendant’s store or whether the claims were frivolous, unreasonable or groundless. It

is true that plaintiffs waited until February 5, 2018 to move for voluntary dismissal of Suárez

claims, despite knowing since at least June 1, 2017 that the evidence that defendant had requested

and not received could not be presented at trial (Docket No. 71).5 But that does not show the case

was totally unfounded, frivolous or otherwise unreasonable, especially considering the lateness in

light of the events surrounding Hurricanes Irma and María.

                                               III.      CONCLUSION

         In view of the foregoing, defendant’s petition for award of attorney’s fees is DENIED.




4That the remodeling of the store was the reason why plaintiffs dismissed their claims does not prove that violations to the ADA
existed before the remodeling. Hence, plaintiffs are not prevailing parties either.

5As explained before, Medina moved to dismiss with prejudice all his claims when the barriers related to his claims were removed
(Docket No. 32).
  Case 3:16-cv-01882-PAD Document 82 Filed 09/26/18 Page 6 of 6
María Suárez-Torres, et al. v. Sandía, LLC
Civil No. 16-1882
Memorandum and Order
Page 6


         SO ORDERED.

         In San Juan, Puerto Rico, this 26th day of September, 2018.

                                                     s/Pedro A. Delgado-Hernández
                                                     PEDRO A. DELGADO-HERNÁNDEZ
                                                     United States District Judge
